Case 3:17-cv-02278-X         Document 439         Filed 06/05/23       Page 1 of 2     PageID 13173



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 CHARLENE CARTER,               §
                                §
                    Plaintiff,  §                                       CIVIL ACTION NO.
                                §
 vs.                            §                                       3:17-cv-02278-X
                                §
 SOUTHWEST AIRLINES CO., and    §
 TRANSPORT WORKERS UNION OF §                                           JURY DEMANDED
 AMERICA, LOCAL 556             §
                                §
                    Defendants. §

            CERTIFICATE REGARDING JUDGE-SPECIFIC REQUIREMENTS

        I, the undersigned attorney, hereby certify that I have read and will comply with all judge.

 specific requirements for Judge Brantley Starr, United States District Judge for the Northern

 District of Texas. I further certify that no portion of any filing in this case will be drafted by

 generative artificial intelligence or that any language drafted by generative artificial intelligence—

 including quotations, citations, paraphrased assertions, and legal analysis—will be checked for

 accuracy, using print reporters or traditional legal databases, by a human being before it is

 submitted to the Court. I understand that any attorney who signs any filing in this case will be held

 responsible for the contents thereof according to Federal Rule of Civil Procedure 11, regardless of

 whether generative artificial intelligence drafted any portion of that filing.


 DATED: JUNE 5, 2023                    RESPECTFULLY SUBMITTED,


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                                        Dallas, Texas 75214
                                        214.642.7486

                                         /s/ Edward B. Cloutman, III______________________


 CERTIFICATE REGARDING JUDGE-SPECIFIC REQUIREMENTS
Case 3:17-cv-02278-X       Document 439        Filed 06/05/23     Page 2 of 2     PageID 13174



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                                     COUNSELS FOR DEFENDANT TWU LOCAL 556


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served
 upon all parties on the 5th day of June, 2023.


                                                    /s/ Adam S. Greenfield______________
                                                    Adam S. Greenfield




 CERTIFICATE REGARDING JUDGE-SPECIFIC REQUIREMENTS
